          Case 1:21-cr-00526-TSC Document 58 Filed 03/30/23 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

United States of America                         *
       v.                                        *           Case No. 21-cr-00526-TSC-1
                                         *
Jeffery Finley,                           *
        Defendant                         *
                                        ******
                      UNOPPOSED MOTION FOR AN EXTENSION OF TIME
                         TO REPORT TO THE FEDERAL INSTITUTION

       Mr. Finley, by his undersigned counsel, hereby respectfully moves this Honorable Court

to continue the date when he must report to the federal institution to and including status

hearing scheduled for April 5, 2023, due to the fact that Mr. Finley has been required to appear

pursuant to a trial subpoena in United States v. Rehl, 21-CR- 175 (TJK) in this district. Mr. Finley

has finally provided testimony on this date. However, as a result of the delays Mr. Finley needs

to make new arrangements to travel to self-report. The next available time when he is able to

have his mother provide a ride for him to self-report is Wednesday, April 5, 2003.

       Mr. Finley consents to this request. AUSA Jason McCullough, who is the lead prosecutor

in both the instant case and in the Rehl case does not oppose this request.

                                                     Respectfully submitted,

                                                            /s/
                                                     ___________________________________
                                                     Carmen D. Hernandez
                                                     Bar No. MD03366
                                                     7166 Mink Hollow Rd
                                                     Highland, MD 20777
                                                     240-472-3391
         Case 1:21-cr-00526-TSC Document 58 Filed 03/30/23 Page 2 of 2




                                       CERTIFICATE OF SERVICE

        I hereby certify that a copy of the instant motion was served on all counsel of record via
ECF this 30th day of March, 2023.

                                                    /s/
                                                    ___________________________________
                                                    Carmen D. Hernandez
